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  United States Attorney
2 KRISTIN S. DOOR, SBN 84307
  Assistant United States Attorney
3 501 I Street, Suite 10-100
  Sacramento, CA 95814
4 Telephone: (916)554-2723
5 Attorneys for Plaintiff
  United States of America
6
7
8                 IN THE UNITED STATES DISTRICT COURT
9                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,       )       2:08-CV-00989-LKK/DAD
                                   )
12            Plaintiff,           )       STIPULATION FOR STAY OF
                                   )       FURTHER PROCEEDINGS AND
13      v.                         )       ORDER THEREON
                                   )
14 REAL PROPERTY LOCATED AT        )
   2275 ATRISCO CIRCLE, SACRAMENTO,)
15 CALIFORNIA, SACRAMENTO COUNTY, )
   APN: 225-0883-026-0000,         )       DATE: September 2, 2008
16 INCLUDING ALL APPURTENANCES     )       TIME: 10:30 a.m.
   AND IMPROVEMENTS THERETO,       )       CHAMBERS/COURTROOM: 4
17                                 )
              Defendant.           )
18                                 )
   UNITED STATES OF AMERICA,       )       2:08-CV-00990-LKK/DAD
19                                 )
              Plaintiff,           )
20                                 )
        v.                         )
21                                 )
   REAL PROPERTY LOCATED AT        )
22 5960 14TH AVENUE, SACRAMENTO,   )
   CALIFORNIA, SACRAMENTO COUNTY, )
23 APN: 021-0051-009-0000,         )
   INCLUDING ALL APPURTENANCES     )
24 AND IMPROVEMENTS THERETO,       )
                                   )
25            Defendant.           )
                                   )
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1 UNITED STATES OF AMERICA,        )       2:08-CV-00991-LKK/DAD
                                   )
 2           Plaintiff,            )
                                   )
 3      v.                         )
                                   )
 4 REAL PROPERTY LOCATED AT        )
   4201 CAMERON ROAD, CAMERON PARK,)
 5 CALIFORNIA, EL DORADO COUNTY,   )
   APN: 109-151-26-100,            )
 6 INCLUDING ALL APPURTENANCES     )
   AND IMPROVEMENTS THERETO,       )
 7           Defendant.            )
   ________________________________)
 8 UNITED STATES OF AMERICA,       )       2:08-CV-00992-LKK/DAD
                                   )
 9           Plaintiff,            )
                                   )
10      v.                         )
                                   )
11 REAL PROPERTY LOCATED AT 2840   )
   STROLLING HILLS ROAD, CAMERON   )
12 PARK, CALIFORNIA, EL DORADO     )
   COUNTY, APN: 109-151-30-100,    )
13 INCLUDING ALL APPURTENANCES     )
   AND IMPROVEMENTS THERETO,       )
14                                 )
             Defendant.            )
15                                 )
   UNITED STATES OF AMERICA,       )       2:08-CV-00987-LKK/DAD
16                                 )
             Plaintiff,            )
17                                 )
        v.                         )
18                                 )
   REAL PROPERTY LOCATED AT 1629   )
19 CITRUS STREET, WEST SACRAMENTO, )
   CALIFORNIA, YOLO COUNTY,        )
20 APN: 014-460-16, INCLUDING      )
   ALL APPURTENANCES AND           )
21 IMPROVEMENTS THERETO,           )
                                   )
22           Defendant.            )
                                   )
23 UNITED STATES OF AMERICA,       )       2:08-CR-00212-LKK
                                   )
24           Plaintiff,            )
                                   )
25      v.                         )
                                   )
26 MIGUEL EDWARDO VASQUEZ, JR.,    )
   et al.,                         )
27                                 )
             Defendants.           )
28                                 )

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1       Plaintiff United States of America and claimants/owners
2 Miguel Vasquez, Frank Blue, Margaret Chavez-Blue, and
3 lienholders/claimants First Mortgage Corporation (Citrus Street
4 and Strolling Hills), IndyMac Bank, F.S.B. (Atrisco Circle),
5 Wachovia Mortgage, F.S.B. (Cameron Road), [hereafter
6 “Claimants”], by and through their respective counsel, hereby
7 stipulate that a stay is necessary in the above-entitled action,
8 and request that the Court enter an order staying all further
9 proceedings pending the outcome of a related criminal case.
10      1.     The above-listed claimants have each filed a claim to
11 protect their respective interests in the real properties listed
12 above.     Claimant Miguel Vasquez is currently a co-defendant in
13 U.S. v. Miguel Vasquez, et al., 2:08-CR-00212 LKK.            No other
14 parties other than the parties to this stipulation have filed a
15 claim in this forfeiture action.
16      2.     Pursuant to 18 U.S.C. §§ 981(g)(1), 981(g)(2) and 21
17 U.S.C. § 881(i) the parties seek a stay of discovery in this
18 case.     The United States contends that the defendant real
19 properties were purchased with funds traceable to drug
20 trafficking and are forfeitable under federal laws permitting the
21 forfeiture of property involved in federal money laundering
22 violations and drug trafficking violations.
23      3.     If discovery proceeds, claimants Miguel Vasquez, Frank
24 Blue, and Margaret Chavez-Blue would be placed in the difficult
25 position of either invoking each claimant’s Fifth Amendment right
26 against self-incrimination and losing the ability to pursue his
27 or her claim to the defendant property, or waiving their Fifth
28 Amendment right and submitting to a deposition and potentially

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1 incriminating themselves in the pending criminal matter.           If
2 claimants invoke their Fifth Amendment rights, the United States
3 will be deprived of the ability to explore the factual basis for
4 the claims they filed.
5       4.   In addition, claimants intends to depose the law
6 enforcement officers involved in the investigation that led to
7 the pending criminal case.       Allowing depositions of the law
8 enforcement investigators involved in the Vasquez investigation
9 and prosecution would adversely affect the ability of the
10 government to properly prosecute the Vasquez case.
11      5.   Accordingly, the parties recognize that proceeding with
12 this action at this time has potential adverse affects on the
13 prosecution of the related-criminal case and/or upon claimants’
14 ability to prove their claim that the defendant real property was
15 purchased with legitimate funds.        For these reasons, the parties
16 jointly request that this matter be stayed until the conclusion
17 of the criminal case.
18      6.   By entering into this stay, the plaintiff and
19 lienholder claimants do not intend to waive any rights they have
20 pursuant to Rule G(7)(b) of the Supplemental Rules for Admiralty
21 or Maritime Claims and Asset Forfeiture Actions to seek an
22 interlocutory sale order if the underlying mortgage on any of the
23 properties is in default or for other good cause shown.
24
25 Dated: August 15, 2008           McGREGOR W. SCOTT
                                    United States Attorney
26
27                                  /s/ Kristin S. Door
                                    Assistant U.S. Attorney
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1 Dated: August 18, 2008            MOSS & LOCKE
2
3                             By    /s/ Bruce Locke
                                    BRUCE LOCKE
4                                   Attorney for Claimant
                                    Miguel Vasquez
5
6 Dated: August 18, 2008
                                    /s/ Christopher Haydn-Myer
7                                   CHRISTOPHER HAYDN-MYER
                                    Attorney for Claimants
8                                   Frank Blue and
                                    Margaret Chavez-Blue
9
10
11 Dated: August 18, 2008
                                    /s/ Christopher Haydn-Myer for
12                                  ROBERT PETERS
                                    Attorney for Claimants
13                                  Frank Blue and
                                    Margaret Chavez-Blue
14
15
16 Dated: August 15, 2008           LA FOLLETTE, JOHNSON, DE HAAS,
                                    FESLER & AMES
17
18
                              By    /s/ John R. Haluck
19                                  JOHN R. HALLUCK
                                    Attorneys for claimant
20                                  First Mortgage Corporation
21
22 Dated: August 18, 2008           ALLEN MATKINS LECK GAMBLE
                                    MALLORY & NATSIS LLP
23
24
                              By    /s/ Timothy B. McGinity
25                                  TIMOTHY B. MCGINITY
                                    Attorneys for claimant
26                                  IndyMac Bank, F.S.B.
27 ///
28 ///

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1 Dated: August 15, 2008            PITE DUNCAN, LLP
2
3                             By    /s/ Laurel I. Handley
                                    LAUREL I. HANDLEY
4                                   Attorneys for claimant
                                    Wachovia Mortgage, F.S.B.
5
6                                   (All signatures obtained by
                                       Attorney)
7
8                                   ORDER
9 IT IS SO ORDERED.
10 Dated: August 19, 2008.
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